                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                     Plaintiff,                     )
v.                                                  )      CASE NO. DNCW3:01CR202-3
                                                    )      (Financial Litigation Unit)
PAUL BERNARD SUTTA,                                 )
                              Defendant,            )
and                                                 )
                                                    )
HONAKER AVIATION,                                   )
                              Garnishee.            )

              DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

        Upon Motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Garnishment filed in this case against Defendant Paul Bernard

Sutta is DISMISSED.

        SO ORDERED.                             Signed: September 25, 2012




      Case 3:01-cr-00202-RLV-DSC           Document 343      Filed 09/25/12     Page 1 of 1
